                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    ASHEVILLE DIVISION

CARYN DEVINS STRICKLAND,                          )
                                                  )
                              Plaintiff,          )
                                                  )
v.                                                ) Civil No. 1:20-cv-00066-WGY
                                                  )
UNITED STATES, et al.,                            )
                                                  )
                              Defendants.         )

     PLAINTIFF’S NOTICE OF CONTINUED OBJECTION TO INTERCIRCUIT-
                         ASSIGNMENT PROCESS

       Plaintiff respectfully requests that this notice serve as her continued objection to the

participation of Defendants in selecting particular judges to hear their own case through the

intercircuit-assignment process. As Plaintiff previously explained in an August 21, 2024 filing,

in its opinion, this Court stated that “[t]he entry of judgment terminates my involvement in this

case.” ECF No. 433, at 2 (quoting ECF No. 429, at 283). The entry of judgment occurred on

August 16, 2024, with entry of a document stating that “Judgment is hereby entered.” ECF No.

432; see Fed. R. Civ. P. 58(a) (requiring “separate document” for judgment). Plaintiff therefore

presumes that a different judge will preside over any post-judgment proceedings. If this Court

intends to continue presiding, Plaintiff requests notice and an opportunity to respond.

       Recent events provide important context for the Court’s statement that “[t]he entry of

judgment terminates my involvement in this case.” ECF No. 429, at 283. On July 30, 2024, just

ten days before the Court issued its opinion, Defendants disclosed records showing that a named

Defendant who was personally involved in the facts of this case—former AO Director James

Duff—failed to recuse himself from the intercircuit-assignment process that resulted in the


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selection of the district judge for this case. See Case No. 24-1353, Docs. 25, 26 (4th Cir.)

(Exhibit A). Defendants’ belated disclosure, after several years of withholding the records from

Plaintiff, contradicted their misleading representations during the prior appeal that the AO

Director was “recused” and “support staff” selected the judge. See Doc. 26 at 4–6. Defendants

only disclosed this information on the Fourth Circuit’s docket after initially refusing Plaintiff’s

request to disclose the records, once again, and after Plaintiff’s counsel requested Defendants’

position on a motion to disclose to be filed in the district court.

       Moreover, the intercircuit-assignment records provide further support for the troubling

possibility that a judicial officer or court employee who was recused from this case ordered the

sealing of Plaintiff’s entire case sua sponte, unlawfully, after it was filed on March 3, 2020. See

ECF Nos. 168, 195 (Exhibit B). The certificate of necessity identifying the district court judge,

which Defendants previously refused to disclose, reveals that no judge was selected through the

intercircuit-assignment process until March 18, 2020—the same day that Plaintiff filed a

mandamus petition in the Fourth Circuit challenging the unlawful sealing. See ECF No. 6. This

evidence raises reasonable concerns that a judicial officer or employee unlawfully sealed this

case to protect officials of the judiciary from embarrassment. This perception of impropriety is

heightened by the fact that the sealing remains unexplained to this day.

       Defendants repeatedly refused to disclose the intercircuit-assignment records to Plaintiff,

even though they were aware of these facts. Instead, Defendants launched vitriolic personal

attacks on Plaintiff and her counsel, accusing them of filing a “baseless” “barrage of motions”

and creating “misguided theories and imagined conflicts of interest” as well as “speculation and

perception of conspiracies where none exist.” ECF No. 174, at 3–4 (Exhibit B).

       This Court denied Plaintiff’s request for the intercircuit-assignment records, which


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effectively condoned Defendants’ efforts to conceal relevant information. ECF No. 191.

Further, this Court denied Plaintiff’s motion to docket all orders and directions to seal this case

as “moot” without explanation. Entry Order Dated Mar. 20, 2024. Defendants’ belated

disclosure of records demonstrates that this issue is not moot, as it continues to taint the integrity

of this proceeding. The Court’s refusal to disclose the basis for the sua sponte sealing, which

remains unresolved to this day, violates the Court’s First Amendment and common law

obligations and heightens the appearance of impropriety. See ECF No. 195, at 3 (citing Doe v.

Pub. Citizen, 749 F.3d 246, 268 (4th Cir. 2014)).

        Based on the Court’s statement that “[t]he entry of judgment terminates my involvement

in this case,” ECF No. 429, at 283, as well as relevant context for this statement based on

Defendants’ belated disclosures bearing on an appearance of impropriety, Plaintiff presumes that

a different judge will preside over any post-judgment proceedings. If this Court intends to

continue presiding, Plaintiff requests notice and an opportunity to respond. Plaintiff requests that

this filing serve as her continuing objection to an intercircuit-assignment process where

Defendants select particular judges to hear their own case through the intercircuit-assignment

process. 1

        This the 4th day of September, 2024.

                                                       Respectfully Submitted,

                                                       /s/ Cooper Strickland



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          Similarly, the current AO Director, Judge Robert Conrad, did not recuse himself from
the intercircuit-assignment process for selecting judges to hear Plaintiff’s mandamus petition,
despite being a named defendant. AO Director Conrad is not only a named Defendant, but also a
former district court judge from the Western District of North Carolina, who was serving during
the events at issue in this lawsuit and recused himself when this lawsuit was filed. See Doc. 26,
at 5–6 (Exhibit A). The record reveals no reason why Director Mauskopf recused herself, but
Directors Duff and Conrad did not.
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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 4th day of September, 2024, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the following:

       Joshua M. Kolsky at Joshua.Kolsky@usdoj.gov

       Madeline M. McMahon at madeline.m.mcmahon@usdoj.gov

       Dorothy Canevari at Dorothy.m.canevari@usdoj.gov

                                                              /s/ Cooper Strickland
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